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                                   7                                   UNITED STATES DISTRICT COURT

                                   8                                  NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                           AMGEN INC., et al.,                            Case No. 14-cv-04741-RS
                                  10                                                      Case No. 16-cv-02581-RS
                                                        Plaintiffs,
                                  11
                                                  v.
                                  12                                                      ORDER GRANTING SUMMARY
Northern District of California




                                                                                          JUDGMENT OF NONINFRINGEMENT
 United States District Court




                                           SANDOZ INC., et al.,                           AND DENYING RULE 56(D) MOTION
                                  13
                                                        Defendants.
                                  14

                                  15                                         I. INTRODUCTION

                                  16            Defendants Sandoz Inc., Sandoz International GmbH, Sandoz GmbH, and Lek

                                  17   Pharmaceuticals d.d. (collectively, “Sandoz”) move for summary judgment as to both

                                  18   noninfringement and damages. Plaintiffs Amgen Inc. and Amgen Manufacturing, Limited

                                  19   (collectively, “Amgen”) oppose summary judgment and move, in the alternative, pursuant to Rule

                                  20   56(d), to defer a ruling on noninfringement until additional information is produced regarding a

                                  21   pending modification to Sandoz’s allegedly infringing process. For the reasons explained below,

                                  22   Sandoz’s motion for summary judgment of noninfringement is granted. The motion for summary

                                  23   judgment regarding damages is denied as moot. Amgen’s Rule 56(d) motion is denied.1

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                                       1
                                  25     Sandoz and Amgen have filed multiple sealing motions regarding materials submitted as part of
                                       their summary judgment filings. Those motions (14-cv-04741, Dkt. No.’s 278, 289, 295, 298, 312,
                                  26   324, 328, 332, 337; 16-cv-02581, Dkt. No.’s 116, 133, 134, 137, 151, 162, 166, 169, 174) are
                                       granted. Amgen additionally moved for leave to file an opposition to a request to strike made by
                                  27   Sandoz in one of its replies. The materials Sandoz seeks to strike are not relied on in this order.
                                       Accordingly, Sandoz’s request to strike and Amgen’s motion (14-cv-04741, Dkt. No. 333, 16-cv-
                                  28   02581, Dkt. No. 170) are denied.
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                                   1                                           II. BACKGROUND

                                   2          Amgen and Sandoz compete to develop, manufacture, promote, and sell biopharmaceutical

                                   3   products. The products at issue here are filgrastim and pegfilgrastim. Filgrastim is the

                                   4   pharmaceutical analog of a protein that naturally occurs in the human body. It stimulates the

                                   5   production of a type of white blood cells (“neutrophils”) vital to the human immune system and,

                                   6   accordingly, is useful for treating patients undergoing certain forms of cancer therapy (e.g.,

                                   7   chemotherapy) that can cause neutrophil deficiency (“neutropenia”). Pegfilgrastim is a modified

                                   8   version of filgrastim that remains in the circulatory system for a substantially longer period of time

                                   9   and thus is “long acting.” Amgen began selling filgrastim in 1991 under the brand name

                                  10   Neupogen® and launched a pegfilgrastim product, Neulasta®, in 2002. Sandoz brought to market

                                  11   an FDA-approved biosimilar filgrastim product, Zarxio®, in 2015. Sandoz also has submitted an

                                  12   application to offer a biosimilar pegfilgrastim product that is pending before the FDA.
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                                  13          As explained in the claim construction order, recombinant proteins like filgrastim are

                                  14   manufactured in a multi-step process. The process begins when scientists introduce human DNA

                                  15   into a host cell of a different species, such as E. Coli bacteria, causing the bacteria to produce

                                  16   human proteins. Before these proteins can be therapeutically useful, however, they must attain a

                                  17   three-dimensional shape. Trouble arises when the host cells produce proteins that lack this proper

                                  18   shape. These “unfolded” proteins accumulate in the host cell and form insoluble aggregates called

                                  19   “inclusion bodies.” To remedy the problem, scientists break open (lyse) the host cell to release the

                                  20   inclusion bodies. They solubilize the inclusion bodies, mixing the proteins with various chemicals

                                  21   to create a solution. They then combine that solution with a “refold buffer” to cause the protein to

                                  22   take a workable, three-dimensional shape.

                                  23          Once the protein has refolded, it must be separated from the chemicals used for

                                  24   solubilization and refolding. This step is called purification and typically involves applying the

                                  25   solution containing the refolded protein to a “separation matrix.” Generally, the separation matrix

                                  26   can function in one of two ways. In “flow-through” purification the separation matrix attracts one

                                  27   or more of the unwanted chemicals used to solubilize and refold the protein. The protein itself,

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                                   1   however, does not attach to the matrix and thus “flows through” and is collected. By contrast, in

                                   2   “capture purification” the separation matrix attracts and binds the protein so that the unwanted

                                   3   contaminants and chemicals flow through the matrix and are discarded. The purified protein is

                                   4   then eluted (i.e., released) from the separation matrix and collected.

                                   5          The present dispute between Amgen and Sandoz began in 2014. Over the past three years,

                                   6   the litigation between the parties has involved multiple issues and multiple patents. The only

                                   7   patent that remains at issue, however, is U.S. Patent No. 8,940,878 (“the ’878 patent”), entitled

                                   8   “Capture Purification Processes for Proteins Expressed in a Non-Mammalian System.” As the

                                   9   name suggests, the ’878 patent generally relates to processes for purifying proteins. Claim 7 of the

                                  10   patent claims one such method. Amgen asserts that one of the steps in Sandoz’s process for

                                  11   making and purifying filgrastim and pegfilgrastim (“the AEX step”) infringes claim 7. Sandoz

                                  12   contends the AEX step does not infringe because it does not satisfy elements (e), (f) and (g) of
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                                  13   claim 7:

                                  14              (e) directly applying the refold solution to a separation matrix under conditions
                                                      suitable for the protein to associate with the matrix;
                                  15
                                                  (f) washing the separation matrix; and
                                  16              (g) eluting the protein from the separation matrix, wherein the separation matrix is a
                                                      non-affinity resin selected from the group consisting of ion exchange, mixed mode,
                                  17                  and a hydrophobic interaction resin.
                                  18          While Amgen Inc. retains ownership of the ’878 patent, Amgen Manufacturing Limited

                                  19   (“AML”) is responsible for manufacturing Neupogen and Neulasta. AML does not practice the

                                  20   ’878 patent method in manufacturing either product.2

                                  21                                        III. LEGAL STANDARD

                                  22          Summary judgment is proper “if the pleadings and admissions on file, together with the

                                  23   affidavits, if any, show that there is no genuine issue as to any material fact and that the moving

                                  24   party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). The purpose of summary

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                                        Additional background information regarding how recombinant proteins are genetically
                                  27   engineered and purified can be found in the claim construction order (14-cv-04741, Dkt. No. 205).

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                                   1   judgment “is to isolate and dispose of factually unsupported claims or defenses.” Celotex v.

                                   2   Catrett, 477 U.S. 317, 323-24 (1986). The moving party “always bears the initial responsibility of

                                   3   informing the district court of the basis for its motion, and identifying those portions of the

                                   4   pleadings and admissions on file, together with the affidavits, if any, which it believes demonstrate

                                   5   the absence of a genuine issue of material fact.” Id. at 323 (citations and internal quotation marks

                                   6   omitted). If it meets this burden, the moving party is then entitled to judgment as a matter of law

                                   7   when the non-moving party fails to make a sufficient showing on an essential element of the case

                                   8   with respect to which he bears the burden of proof at trial. Id. at 322-23.

                                   9           The non-moving party “must set forth specific facts showing that there is a genuine issue

                                  10   for trial.” Fed. R. Civ. P. 56(e). The non-moving party cannot defeat the moving party’s properly

                                  11   supported motion for summary judgment simply by alleging some factual dispute between the

                                  12   parties. To preclude the entry of summary judgment, the non-moving party must bring forth
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                                  13   material facts, i.e., “facts that might affect the outcome of the suit under the governing law . . . .

                                  14   Factual disputes that are irrelevant or unnecessary will not be counted.” Anderson v. Liberty

                                  15   Lobby, Inc., 477 U.S. 242, 247-48 (1986). The opposing party “must do more than simply show

                                  16   that there is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co. v.

                                  17   Zenith Radio, 475 U.S. 574, 588 (1986).

                                  18           The court must draw all reasonable inferences in favor of the non-moving party, including

                                  19   questions of credibility and of the weight to be accorded particular evidence. Masson v. New

                                  20   Yorker Magazine, Inc., 501 U.S. 496 (1991) (citing Anderson, 477 U.S. at 255); Matsushita, 475

                                  21   U.S. at 588 (1986). It is the court’s responsibility “to determine whether the ‘specific facts’ set

                                  22   forth by the nonmoving party, coupled with undisputed background or contextual facts, are such

                                  23   that a rational or reasonable jury might return a verdict in its favor based on that evidence.” T.W.

                                  24   Elec. Service v. Pacific Elec. Contractors, 809 F.2d 626, 631 (9th Cir. 1987). “[S]ummary

                                  25   judgment will not lie if the dispute about a material fact is ‘genuine,’ that is, if the evidence is such

                                  26   that a reasonable jury could return a verdict for the nonmoving party.” Anderson, 477 U.S. at 248.

                                  27   However, “[w]here the record taken as a whole could not lead a rational trier of fact to find for the

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                                   1   non-moving party, there is no ‘genuine issue for trial.’” Matsushita, 475 U.S. at 587.

                                   2                                             IV. DISCUSSION

                                   3          A. Noninfringement

                                   4          Evaluating infringement is a two-part inquiry: 1) claim construction; and 2) comparison of

                                   5   the properly construed claims to the accused process. Lockheed Martin Corp. v. Space Sys./Loral,

                                   6   Inc., 324 F.3d 1308, 1318 (Fed. Cir. 2003). In the instant case, part one of the inquiry was

                                   7   completed with issuance of the claim construction order on August 4, 2016. Part two is the subject

                                   8   of the present motion.

                                   9          “[A] determination of infringement, both literal and under the doctrine of equivalents, is a

                                  10   question of fact.” Id. Because the ultimate burden of proving infringement rests with the patentee,

                                  11   an accused infringer may show that summary judgment of non-infringement is proper either by

                                  12   producing evidence that would preclude a finding of infringement, or by showing that the
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                                  13   evidence on file fails to create a material factual dispute as to any essential element of the

                                  14   patentee’s case. See Novartis Corp. v. Ben Venue Labs., Inc., 271 F.3d 1043, 1046 (Fed. Cir.

                                  15   2001). Here, Sandoz can prevail only if no reasonable jury could conclude the accused AEX step

                                  16   infringes claim 7 of the ’878 patent either literally or under the doctrine of equivalents.

                                  17                  i. Literal Infringement

                                  18          To prove literal infringement, a patent holder must establish that every requirement of the

                                  19   claimed method is included in the method accused of infringement. MicroStrategy Inc. v. Business

                                  20   Objects, S.A., 429 F.3d 1344, 1353 (Fed. Cir. 2005). “If . . . even one claim limitation is missing or

                                  21   not met, there is no literal infringement.” Id. at 1353 (citation omitted).

                                  22          The overarching thrust of Sandoz’s argument is that the claimed protein purification

                                  23   method requires three distinct and sequential steps as well as the application of three distinct

                                  24   solutions. Sandoz’s AEX step, by contrast, involves only one step and only one solution. More

                                  25   specifically, Sandoz identifies four requirements of claim 7 it argues are not satisfied by its

                                  26   accused process. First, the eluting step must occur after the washing step. Second, the washing

                                  27   step must occur after direct application of the refold solution. Third and fourth, both the washing

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                                   1   and eluting steps require adding solutions different from the refold solution.

                                   2          The first ground raised by Sandoz (i.e., that the eluting step must occur after the washing

                                   3   step) is sufficient on its own to support a finding that Sandoz’s AEX step does not literally

                                   4   infringe the ’878 patent. In construing the phrase “eluting the protein from the separation matrix,”

                                   5   the claim construction order noted that the eluting step outlined in 7(g) must occur after the

                                   6   washing step described in 7(f). CC Order at 31, 33. This conclusion was reached in heavy reliance

                                   7   on the explicit language of the patent specification:

                                   8          The specification teaches, “[a]fter the separation matrix with which the protein has
                                              associated has been washed, the protein of interest is eluted using an appropriate solution.”
                                   9          ’878 Patent at 15:60 62. It further explains that the wash buffer may be comprised of any
                                              number of components so long as “[t]he pH range is chosen to optimize the
                                  10          chromatography conditions, preserve protein binding, and to retain the desired
                                  11          characteristics of the protein of interest.” ’878 Patent at 15:55 57 (emphasis added). Thus,
                                              the proteins and separation matrix should remain associated during the washing process. In
                                  12          contrast, elution involves cleaving the protein from the matrix with “a solution that
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                                              interferes with the binding of the absorbent component of the separation matrix to the
                                  13          protein, for example by disrupting the interactions between Protein A and the Fc region of
                                              a protein of interest.” ’878 Patent at 15:65 16:2 (emphasis added). Accordingly, the
                                  14          specification discloses a natural, logical order of steps. If the washing and eluting steps
                                  15          occurred simultaneously, the protein captured by the separation matrix could once again
                                              comingle with the contaminants and components to be washed away. In light of the fact
                                  16          Amgen has not offered any reasons to believe the claim does not imply a natural order, the
                                              construction of the phrase will make clear the step of “eluting the protein from the
                                  17          separation matrix” occurs after the step of “washing the separation matrix.”
                                  18   Id. at 31 (emphasis added).
                                  19          Nothing has been offered to suggest the above construction needs modification. Based on
                                  20   this construction, the method employed by Sandoz does not have the sequential washing and
                                  21   eluting steps required by claim 7. The AEX step entails continuously pumping a refold solution
                                  22   comprised of filgrastim, a particular detergent (“detergent 1”),3 and other substances into a column
                                  23   containing a separation matrix. There is no pause in the pumping of the refold solution. Nor is
                                  24   there any point at which Sandoz adds a second solution to the column that is compositionally
                                  25

                                  26   3
                                        This nomenclature is adopted to avoid unnecessarily disclosing confidential aspects of Sandoz’s
                                  27   accused process.

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                                   1   different than the refold. There simply is no way to conceive of this continuous pumping process

                                   2   as an eluting step after a washing step without straining the language of the patent specification

                                   3   and the claim construction order beyond their reasonable meaning.

                                   4          Amgen nonetheless argues the washing and eluting steps do occur sequentially in Sandoz’s

                                   5   process if you look at any given location in the column (e.g., “the leading edge of the refold

                                   6   solution in the downstream end”) rather than at the column as a whole. The key, according to

                                   7   Amgen, is recognizing that conditions in the column are changing as the refold solution is applied.

                                   8   When the solution is first applied, conditions are such that filgrastim is binding to the separation

                                   9   matrix. While the filgrastim is bound, other contaminants in the solution are flowing over and past

                                  10   it through the column and being discarded (i.e., “washing”). Later, the continued application of

                                  11   refold solution causes conditions to change in the column yet again so that the filgrastim binding

                                  12   is reversed and the protein flows out through the column (i.e., “eluting”). Thus, Amgen argues,
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                                  13   Sandoz’s description of its AEX step as only one step and one solution is misleading. At any given

                                  14   location in the column where filgrastim binds, the washing step and the eluting step are occurring

                                  15   sequentially consistent with claim 7.

                                  16          Amgen’s attempt to redefine Sandoz’s accused process in a way that fits the requirements

                                  17   of claim 7 is unavailing. As the claim construction order noted, the patent specification discloses a

                                  18   natural, logical order of steps. Nowhere is that order of steps more clear than with regard to the

                                  19   requirement that the eluting step in element (g) follow the washing step in element (f).

                                  20          For similar reasons, Sandoz’s argument that the washing and eluting solutions must be

                                  21   distinct is equally compelling and provides an additional ground on which to conclude that

                                  22   Sandoz’s process does not literally infringe the claimed method. As previously discussed,

                                  23   Sandoz’s AEX step uses only one solution. Yet the patent specification describes a “wash buffer”

                                  24   that is “optimized to preserve protein binding” and an eluting solution that “interferes with the

                                  25   binding.” ’878 Patent at 15:55-62. See also CC Order at 31. The opposite purposes of these two

                                  26   solutions suggests they must indeed be distinct, and cannot be, as Amgen contends, a single

                                  27   solution achieving different ends, due to different conditions, at different points in time.

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                                   1          Sandoz’s other arguments—that the washing step must come after the application of the

                                   2   refold solution and that the solutions required for eluting and washing must be separate and

                                   3   distinct from the refold solution—are also strong. Those arguments, however, need not be reached.

                                   4   Eluting must follow washing under the claimed method. The accused AEX step has no such sub-

                                   5   steps. So too, the claimed method requires that the washing and elution solutions be distinct. Yet

                                   6   the accused AEX step involves application of only one solution. Either one of these grounds

                                   7   independently supports a finding that Sandoz’s process does not literally infringe.

                                   8          ii. Doctrine of Equivalents

                                   9          An accused method that does not literally infringe a patent claim may still be found to be

                                  10   infringing under the doctrine of equivalents if it includes steps that are identical or equivalent to

                                  11   the requirements of the claim. Warner–Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17, 21

                                  12   (1997). An accused step is considered equivalent to a claim requirement if a person of ordinary
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                                  13   skill in the field would think that the differences between the step and the requirement were not

                                  14   substantial. See Johnson & Johnston Assocs. Inc. v. R.E. Serv. Co., 285 F.3d 1046, 1057 (Fed. Cir.

                                  15   2002). An accused step may be insufficiently different from a claim requirement if it performs

                                  16   substantially the same function, in substantially the same way, to achieve substantially the same

                                  17   result. See Warner-Jenkinson Co., 520 U.S. at 39-40; Graver Tank & Mfg. Co. v. Linde Air

                                  18   Products Co., 339 U.S. 605, 608 (1950). As the patentee, Amgen bears the burden of establishing

                                  19   equivalency on a limitation-by-limitation basis by particularized testimony and linking argument

                                  20   as to the insubstantiality of the differences between the claimed and accused methods. Akzo Nobel

                                  21   Coatings, Inc. v. Dow Chem. Co., 811 F.3d 1334, 1342 (Fed. Cir. 2016).

                                  22          Here, the differences between the method claimed by the ’878 patent and the accused AEX

                                  23   step are substantial. First, the claimed method and the AEX step do not perform the same function.

                                  24   As explained in the claim construction order, the alleged invention protected by the ’878 patent

                                  25   was the discovery that refold solution could be applied directly to a separation matrix without

                                  26   removing components of or diluting the solution. CC Order at 25. The AEX step, by removing an

                                  27   unwanted contaminant (“detergent 1”) in advance of capture purification, is in effect doing exactly

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                                   1   what the asserted claims sought to eliminate.

                                   2          Second, the different functions performed by the two processes are performed in

                                   3   substantially different ways. Sandoz argues this distinction is best illustrated by classifying the

                                   4   claimed method as a “capture purification” process and the accused method as “flow-through.”

                                   5   Amgen rejects these classifications as misleading on the grounds that filgrastim actually does bind

                                   6   to at least some portion of the separation matrix during Sandoz’s process and is therefore captured.

                                   7   Regardless of how they are labelled, however, the processes are indeed different. The claimed

                                   8   method “discloses a natural, logical order of steps” in which application of the refold solution is

                                   9   followed by a washing step and then an eluting step. The accused method, by contrast, involves

                                  10   only one step: the continuous application of a single solution to a separation matrix.

                                  11          Lastly, and closely related to the function analysis above, the results produced by the

                                  12   claimed method and the accused method are substantially different. The claimed method, as the
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                                  13   patent notes, is a “Capture Purification Process” that produces the protein in question in its

                                  14   purified form. There are no steps beyond the eluting step in element (g). The AEX step, on the

                                  15   other hand, produces a solution that contains the protein to be purified (filgrastim)—and at least

                                  16   one fewer contaminant (“detergent 1”) than at the outset of the step—but which requires further

                                  17   purification.

                                  18          In light of these differences, Amgen cannot prove infringement either literally or under the

                                  19   doctrine of equivalents. Sandoz’s motion for summary judgment of noninfringement is granted.

                                  20          B. Damages

                                  21          In addition to seeking summary judgment as to noninfringement, Sandoz also moves for

                                  22   summary adjudication of several discrete issues impacting the scope of damages and relief

                                  23   available to Amgen. Specifically, Sandoz asks the Court to find: (1) AML lacks standing to sue for

                                  24   infringement because it is neither an owner nor exclusive licensee of the ’878 patent; (2) Amgen

                                  25   Inc. is not entitled to lost profits for Neupogen, because it has never made or sold any Neupogen;

                                  26   (3) Amgen cannot prove the absence of non-infringing alternatives; and (4) the hypothetical

                                  27   negotiation date for determining royalties must be earlier than May 5, 2015. Because Sandoz’s

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                                   1   accused method does not infringe the ’878 patent, these damages arguments need not be reached.

                                   2          C. Rule 56(d) Motion

                                   3          Rule 56(d) of the Federal Rules of Civil Procedure permits denial or continuance of a

                                   4   motion for summary judgment, “[i]f a nonmovant shows by affidavit or declaration that, for

                                   5   specified reasons, it cannot present facts essential to justify its opposition.” A party requesting a

                                   6   Rule 56(d) continuance bears the burden of setting forth specific facts he hopes to elicit from

                                   7   further discovery and demonstrating that the facts sought not only exist but also are essential to

                                   8   oppose summary judgment. Family Home & Fin. Ctr., Inc. v. Fed. Home Loan Mortg. Corp., 525

                                   9   F.3d 822, 827 (9th Cir. 2008). Failing to meet this burden “is grounds for the denial” of a Rule

                                  10   56(d) motion. Pfingston v. Ronan Eng. Co., 284 F.3d 999, 1005 (9th Cir. 2002).

                                  11          As discussed previously, Sandoz’s accused AEX step involves pumping refold solution

                                  12   into a column containing a separation matrix. The specific matrix Sandoz currently uses, however,
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                                  13   will be discontinued in late 2018 or 2019. Sandoz therefore plans to replace its current matrix with

                                  14   a new separation matrix. Amgen argues this change in matrices is significant and moves pursuant

                                  15   to Rule 56(d) to defer a ruling on whether Sandoz’s modified process infringes on the claimed

                                  16   method. Such a ruling is not appropriate, Amgen argues, until Sandoz produces more complete

                                  17   documentation regarding how the process will be modified. Specifically, Amgen urges the court to

                                  18   wait until Sandoz submits an application for approval of its modified process to the FDA—which

                                  19   will happen at some point in 2018—and produces that submission and its underlying source

                                  20   documents to Amgen.

                                  21          The problem with Amgen’s request is that the final “process parameters” it hopes to

                                  22   discover (e.g., “column dimensions, flow rate, loading time, and residence time”) are not material

                                  23   to the finding of noninfringement. As discussed in the infringement analysis, the method claimed

                                  24   by the ’878 patent involves multiple steps and multiple solutions while Sandoz’s accused method

                                  25   involves only one continuous step and only one solution. This substantial difference between the

                                  26   methods will not be altered by the replacement of the current matrix with the new matrix. The core

                                  27   function of the new matrix, to capture “detergent 1” as the refold solution moves through the

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                                   1   column, will be materially identical to the function of the current matrix. Sandoz’s process will

                                   2   still not contain an eluting step that follows a washing step, as required by claim 7’s (f) and (g)

                                   3   elements. It therefore will not infringe. Accordingly, granting Amgen’s Rule 56(d) motion would

                                   4   not conserve judicial resources, as Amgen argues, but would instead unnecessarily delay

                                   5   resolution of this already lengthy litigation.

                                   6                                            V. CONCLUSION

                                   7          Sandoz’s motion for summary judgment of noninfringement is granted with respect to its

                                   8   accused process as conducted with both the current and new separation matrices. Amgen’s Rule

                                   9   56(d) motion is denied. Sandoz’s motion for summary judgment regarding damages is denied as

                                  10   moot. Sandoz is directed to submit a proposed final judgment no later than January 5, 2018.

                                  11

                                  12   IT IS SO ORDERED.
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                                  14   Dated: December 19, 2017

                                  15                                                    ______________________________________
                                                                                        RICHARD SEEBORG
                                  16                                                    United States District Judge
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                                  28                                        ORDER GRANTING SUMMARY JUDGMENT AND DENYING RULE 56(D) MOTION
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